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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


SAN ANTONIO FIREFIGHTERS'                     §
ASSOCIATION, LOCAL 624,                       §
                                              §              5-18-CV-00745-XR
                 Plaintiff,                   §
                                              §
vs.                                           §
                                              §
THE CITY OF SAN ANTONIO, TEXAS,               §
                                              §
                 Defendant.                   §
                                              §
                                              §


                                            ORDER

       IT IS ORDERED THAT the June 13 hearing on Defendant’s Motion for Protective

Order, Dkt. No. 38, is RE-SET to June 14, 2019 at 2:30 pm.

       IT IS SO ORDERED.

       SIGNED this 5th day of June, 2019.




                                   RICHARD B. FARRER
                                   UNITED STATES MAGISTRATE JUDGE
